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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                     Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.



                        DECLARATION OF WENDY WEINER, SEIU


I, Wendy Weiner declare as follows:


     1.​ I am the Director of the Property Services Division at the Service Employees

        International Union (“SEIU”). I submit this declaration in support of Plaintiffs’

        application for a motion for a preliminary injunction in this matter. The statements made

        in this declaration are based on my personal knowledge, materials I have reviewed, and

        information made available to me pursuant to my duties at SEIU.


     2.​ SEIU represents approximately two million members in healthcare, the public sector, and

        property services. SEIU has over 150 affiliates across the United States, Canada, and

        Puerto Rico. Our work is guided by our vision for a just society where all workers are

        valued and all people respected—no matter where we are from or the color of our skin,

        where all families and communities can thrive, and where we leave a better and more

        equitable world for generations to come.


     3.​ SEIU represents approximately 380,000 members who work in the property services
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   industry, including in commercial office buildings, arenas and other event centers,

   airports, K-12 public schools, and colleges and universities. Our members work as

   janitors, security guards, doormen, airplane cabin cleaners, wheelchair attendants, and

   food service workers.


4.​ Thousands of our members work in seasonal industries where they experience periods of

   regular unemployment. For example, SEIU members who work in food service in

   college dining halls and secondary school cafeterias are laid off during the summer, and

   apply for unemployment insurance to cover these periods. Likewise, building cleaners

   and security guards who work in sports arenas are generally laid off during the

   off-season, and apply for unemployment insurance.


5.​ Unemployment insurance (UI) is a critical part of the safety net that helps ensure

   economic stability for all of our members. SEIU has engaged in advocacy efforts to

   preserve and expand UI coverage for its members and all working people. At the federal

   level, SEIU has signed on in support of legislation to modernize the UI system, the

   Unemployment Insurance Modernization and Recession Readiness Act. At the state and

   local level, during the COVID pandemic, SEIU engaged in advocacy to expand eligibility

   for unemployment insurance (including suspension of waiting periods and job search

   requirements). More recently, in Minnesota, SEIU Local 284 engaged in an extensive

   campaign to win eligibility for unemployment insurance for K-12 school support workers

   who do not work in the summer. In Illinois, SEIU Local 73 is currently engaged in a

   similar campaign on behalf of their school support members. Finally, SEIU locals in

   Washington State are advocating for union members’ eligibility for UI benefits while on

   strike.
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   6.​ When our members apply for unemployment insurance, they trust that the personal

       financial information they provide as part of that process will be maintained in a

       confidential manner. It is extremely concerning that this kind of private and confidential

       information of our members could be disclosed to the Department of Government

       Efficiency (“DOGE”) employees. This unauthorized data exposure could lead to our

       members being at risk for identity theft or financial crimes.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on April 18, 2025, in Washington, DC.




                                                              ​     /s/ Wendy Weiner​
                                                                  Wendy Weiner
